 Case 1:07-cr-00089-TC Document 214 Filed 11/22/19 PageID.1442 Page 1 of 1




       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
                                                                       ORDER
                        Petitioner,

                 v.                                           Case No. 1:07 CR 89 TC

 KIM DAVIS BECKSTROM,                                           Judge Tena Campbell

                        Respondent.


       Kim Davis Beckstrom has filed a pro se Petition for Compassionate Release. The court

has reviewed the petition. The court hereby orders the United States Attorney to file an answer

or other pleading in response to the petition within 30 days of the date of this Order.

       DATED this 22nd day of November, 2019.

                                              BY THE COURT:



                                              ______________________________
                                              TENA CAMPBELL
                                              United States District Court Judge
